                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS


DIVISION: BEAUMONT                                         '       DATE: 11/7/22
                                                           '
DISTRICT JUDGE: MICHAEL J. TRUNCALE                        '       COURT REPORTER: April Hargett
                                                           '
BEAUMONT CHAPTER OF THE NAACP, ET AL                       '       CIVIL NO.: 1:22CV488
Plaintiff                                                  '
                                                           '       C/R DEPUTY: Jill Veazey
JEFFERSON COUNTY, TEXAS, ET AL                             '
Defendant

Begin: 6:38
Adjourn: 9:42
Total Time in Court:          3 HRS 4 MINS

Attorneys for Plaintiff: Jeffrey Homrig, Nathaniel Bass
Attorneys for Defendant: Kathleen Kennedy, Quentin Price

THIS DAY CAME THE PARTIES BY THEIR ATTORNEYS AND THE FOLLOWING
PROCEEDINGS WERE HAD: MOTION HEARING [DOC. 3] Emergency Motion of TRO

6:38        Court begins. Parties make announcements. Court addresses parties.
6:46        Mr. Homrig states argument on motion.
7:10        Ms. Kennedy addresses Court and states argument.
7:25        Ms. Kennedy calls Mary Beth Bowling to testify. Witness sworn. Direct by Ms. Kennedy.
7:48        Cross-Exam by Mr. Homrig.
8:05        Re-Direct by Ms. Kennedy. 8:07 Witness excused. Ms. Kennedy calls Laurie Leister to
testify. Witness sworn. Direct by Ms. Kennedy.
8:49        Cross-Exam by Mr. Homrig.
8:54        Re-Direct by Ms. Kennedy. 8:56 Witness excused.
8:57        Court recessed.
9:14        Court resumed. Closing argument by Mr. Homrig.
9:25        Closing argument by Ms. Kennedy.
9:35        Court states ruling. Court grants in part/denies in part.
9:42        Court adjourned.
                                                                   DAVID O’TOOLE, CLERK

                                                                    /s/ Jill Veazey
                                                                      Deputy Clerk
